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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 TIMOTHY SCHERMAN,

           Plaintiff,

 v.                                                             Cause No. 1:19-cv-01866-JPH-TAB

 INDIANA UNIVERSITY and G.G.,

           Defendants.

          PLAINTIFF’S UNOPPOSED MOTION TO PROCEED UNDER PSEUDONYM

           NOW COMES Plaintiff TIMOTHY SCHERMAN, by and through his attorneys, and

 pursuant to S.D. Local Rule 10-1, respectfully moves this Court to grant him leave to proceed

 under the Pseudonym “John Doe.” In support of this Motion, Plaintiff states as follows:

           1.      Plaintiff was a student at Defendant Indiana University (“Defendant IU”) who was

 placed on a two-year suspension on November 13, 2018 following an investigation into Defendant

 G.G.’s false accusations against him of sexual misconduct.

           2.      Plaintiff filed his Complaint on May 8, 2019 alleging violations of Title IX and due

 process under the Fifth and Fourteenth Amendments against Defendant IU, as well as common

 law claims of breach of contract and promissory estoppel (Dkt. 1). Plaintiff also alleged claims of

 defamation, false light, and intentional infliction of emotional distress against Defendant G.G.

 (Id.).

           3.      On May 23, 2019, Defendant G.G. filed a Motion to Proceed Under Pseudonym

 (“Defendant G.G.’s Motion”) (Dkt. 15). On July 24, 2019, the Court entered an order granting

 Defendant G.G.’s Motion and ordering the parties to refile redacted copies of documents

 identifying Defendant G.G. by her full name (Dkt. 38).

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          4.     Plaintiff opposed Defendant G.G.’s Motion and did not initially seek to proceed

 under pseudonym himself because, as he stated in Plaintiff’s Memorandum in Opposition to

 Defendant G.G.’s Motion to Proceed Under Pseudonym (Dkt. 25), he would have preferred for

 this matter to be litigated in the light of day and “to enforce his rights and hold Defendants

 accountable in a public forum.” (Id. at p. 5). However, in light of the Court’s July 24, 2019 Order

 allowing Defendant G.G. to proceed anonymously and in the interest of fairness, Plaintiff now

 wishes to proceed under a pseudonym as well.

          5.     In Defendant G.G.’s Consolidated Reply in Support of Motion to Proceed Under

 Pseudonym and Motion to Seal (Dkt. 27), Defendant G.G. stated that she “freely acknowledges

 that Plaintiff could pursue his claims under a pseudonym (and would not object if he did so)…”

 (Id. at 4). On July 24, 2019, counsel for Plaintiff contacted counsel for G.G. and Indiana

 University, both of whom confirmed that they do not object to Plaintiff’s instant Motion to Proceed

 Under Pseudonym.

          6.     According to the Seventh Circuit, “[t]o proceed anonymously, a party must

 demonstrate ‘exceptional circumstances’ that outweigh both the public policy in favor of identified

 parties and the prejudice to the opposing party that would result from anonymity.” Doe v. Village

 of Greenfield, 819 F.3d 372, 376-77 (7th Cir. 2016). The Southern District of Indiana has identified

 several factors in evaluating whether a plaintiff should be allowed to proceed pseudonymously:

          (1) whether the plaintiff is challenging governmental activity; (2) whether the
          plaintiff would be required to disclose information of the utmost intimacy; (3)
          whether the plaintiff would be compelled to admit his or her intention to engage in
          illegal conduct, thereby risking criminal prosecution; (4) whether the plaintiff
          would risk suffering injury if identified; and (5) whether the party defending against
          a suit brought under a pseudonym would be prejudiced.
 Doe v. Trs. of Ind. Univ., No. l:12-cv-1593-JMS-DKL, 2013 WL 3353944 at *3 (S.D. Ind. July 3,

 2013).


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        7.       It is undisputed, given the Court’s Order allowing Defendant G.G. to proceed under

 pseudonym, that the facts of this case involve “information of the utmost intimacy” for both parties

 and that Plaintiff, who is a (wrongly) accused rapist, would risk significant injury to his reputation

 if identified in the proceedings going forward. Further, there is no prejudice to the opposing parties,

 as they are aware of Plaintiff’s true identity and have not objected to the instant Motion.

        8.       This Court has already held that Defendant G.G. meets this high burden and has

 allowed her to proceed pseudonymously. Given that the same facts are at issue for Plaintiff,

 including details regarding his sex life, alcohol use, and sexual history, and that he is even more

 likely to be a victim of public censure and malice as a (wrongly) accused rapist, he should be given

 the right to have his identity concealed from the public as well.

        WHEREFORE, for all of the foregoing reasons, Plaintiff respectfully requests that this

 Court grant Plaintiff’s Motion and allow him to proceed under the pseudonym “John Doe,” and

 order that prior case documents identifying Plaintiff by name be refiled with his name redacted.

                                                Respectfully submitted,

                                                TIMOTHY SCHERMAN


                                                By       s/Brenda H. Feis
                                                         One of His Attorneys
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 July 29, 2019




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                               CERTIFICATE OF SERVICE

       I, Elisabeth G. Mustoe, an attorney, hereby certify that on July 29, 2019, I caused a true

 and correct copy of the attached PLAINTIFF’S UNOPPOSED MOTION TO PROCEED UNDER

 PSEUDONYM to be served via e-mail upon the following counsel of record:

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                                                   By: /s/ Elisabeth G. Mustoe______




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